434 F.2d 250
    UNITED STATES of America, Plaintiff-Appellee,v.Bobby Joe THOMAS, Defendant-Appellant.
    No. 29652 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York, et al., 5th Cir., 1970,
    
      431 F.2d 409.
      United States Court of Appeals, Fifth Circuit.
      Nov. 20, 1970.
      Sherwin A. Winniford, Waco, Tex.  (Court appointed), for defendant-appellant; Bobby Joe Thomas, pro se.
      Seagal V. Wheatley, U.S. Atty., Jeremiah Handy, Asst. U.S. Atty., W.D. Tex., San Antonio, Tex., for appellee.
      Appeal from the United States District Court for the Western District of Texas; Jack Roberts, Distrct Judge.
      Before GEWIN, GOLDBERG and DYER, Circuit Judges.
      PER CURIAM:
    
    Affirmed.  See Local Rule 21.1
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
    
    